                                                                                   17-81630-CRJ11
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - NORTHERN DIVISION

  In the Matter of:
   John Thomas Lacik                     }     Case No: 17-81630-CRJ11
    SSN: XXX-XX-9376                     }
   Lisa Elaine Lacik                     }
    SSN: XXX-XX-1278                     }
      DEBTOR(S).                         }



                        COURTROOM NOTES CONTINUING
Matter(s):                 RE: Doc #174; Debtors' Motion for Entry of a Final Decree Closing
                           Chapter 11 Case
Date and Time:             Tuesday, November 20, 2018 01:30 PM
Appearances:               Richard M Blythe (Bankruptcy Administrator)
                           Tazewell Taylor Shepard IV, attorney for John Thomas Lacik
                           (Debtor)
                           Tazewell Taylor Shepard IV, attorney for Lisa Elaine Lacik (Joint
                           Debtor)

Courtroom Deputy:          MeShae Bogue
Presiding Judge:           CLIFTON R. JESSUP JR.

Court Notes:               Continued in open court to 12/19/18 at 11:30 a.m., Federal
                           Courthouse, 101 Holmes Avenue, Huntsville, Alabama.




Date Prepared:11/21/2018




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